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RUDY ROSENBERG
418 E 88" ST, 2G
NY NY 10128
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF
NEW YORK og

RUDY ROSENBERG Case No: :

NOTICE OF REMOVAL OF PROCEEDING

VS. UNDER Diversity; Fair Housing Amendments

Act of 1988; Diversity; 42 U.S.C. §§ 3601-3619;
SHEMIRAN CO. LLC 42 U.S.C. §§2000a, 2000a-6 (1964); 42 U.S.C. §§

3601-3619; 28 U.S.C. 28 U.S.C. § 1443, 1455,
& and 1446; 42 USC 1983 et seq.
ANTHONY CANNATARO, Administrative Judge;

(FEDERAL QUESTION)
ANNE KATZ, Supervising Housing Court Referee,

JURY DEMAND

HEELA CAPELL, Referee, ALIA RAZZAQ, Chief

Clerk;
TRO / ORDER TO SHOW CAUSE

EUGENE HURLEY, First Deputy Chief Clerk et al

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that PETITIONER, Rudy Rosenberg hereby removes to this Court the state

court action described below.

 
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INTRODUCTION

EMERGENT IRREPARABLE ISSUES

1. Petitioner challenges the constitutionality of the complained about procedures used and
actions engaged by the respondents that are calculated by the respondents to cause

Petitioner irreparable economic, constitutional and other harms.

2. Judge McMahon has refuses to address the issue of the state court Civil Rights violations
on the above issue or hold the state court in contempt for violating 28 U.S. Code § 1446(d).
3. Petitioner repeats all facts, arguments and allegation in his prior Notice of Removal [see

Case No. 20-CV-229], inclusive of the 28 USC 1443, ADA and FHA violations.

4, On or about February 27, 2020, Petitioner received the Housing Court trial notice setting

the trial date on March 17" at 9:30 am, EXHIBIT: A

5. Housing Referee Capell’s November 21, 2019 orders held that Petitioner’s hearings and

trial are to be set for after 2pm, EXHIBIT: B

6. Petitioner filed a motion to compel the Housing Court to comply with the State Court’s
standing administrative order that all of Petitioner’s hearings/trials are to be after 2 pm,

EXHIBIT: C

7. Additionally, the State and landlord actors continue to conspire and violate 28 U.S.
CODE 1446(d) during the period of the removal to SDNY District Court from January

14" forward.

8. The State Court had engaged with the landlord’s counsel, on or about February 13%

voluntarily to set the trial date on March 17" in the morning.

 
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The landlord’s counsel voluntarily and deliberately motivated the Housing Court to
violate a standing court order prohibiting such judicial conduct setting hearings prior to 2

pm on any given date.

The Housing Court record demonstrates that the landlord’s counsel has been persistently
conspiring with the State judiciary and Clerks Office since March 2019 to unlawfully set
the Housing Court proceedings against Petitioner in the mornings, even though all
concerned are fully aware of the standing judicial ADA accommodation order prohibiting

Petitioner’s hearing taking place before 2 pm.

It is also axiomatic that a Notice of Removal is an application for injunctive relief against
the State Court’s Civil Rights, inclusive of Equal Civil Rights, abuses and fraud upon the
Court akin to the relief received in Sinisgallo v. Town of Islip Hous. Auth. 865 F. Supp.
2d 307 (E.D.N.Y. 2012), Carr v. Axelrod, 798 F. Supp. 168 - Dist. Court, SD New York
1992 and in Assisted Living Associates of Moorestown, L.L.C. v. Moorestown

Township. 31 F. Supp.2d 389 (D. N.J. 1998).

The facts of this proceeding also satisfy both test prongs of 28 USC 1443 as the
established federal record to date argues that the State Court’s is engaged in racial
discrimination calculated to unlawfully deprive the tenants of their Equal Civil Rights
and that the tenants’ conduct is legally immune from prosecution by the landlord and the

State Court.

The Housing Court continues to prosecute the proceedings in Petitioner’s absence, in
violation of from January 15" forward setting a trial date ex-parte with the Landlord
for March 17, 2020 at 9:30 am even though the Court is fully aware that it has a standing
ADA accommodation order that all of Petitioner’s State court hearings are to take place

after 2 pm.

 
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14. On or about November 20, 2019, the State and private respondents engaged in the
unlawful alteration of the Housing Court’s audio recording of the November 21, 2019
hearing to fix the eviction proceeding in favor of the landlord and which irreparably

harms Petitioner’s substantive rights.

15. The Housing Court has set a trial date, with calculated reckless indifference to violating
Petitioner’s ADA right mandating afternoon hearings, during the pendency of a previous

removal in mid-January 2020 to mid-February 2020.

16. The current conspiracy of an ex-parte setting a morning trial date is strictly with the
intent of unlawfully engaging in an ex-parte trial to obtain a default judgment against

Petitioner.

17. The State actors, with the intent to fix the Housing Court proceedings against Petitioner,
have been engaged in a conspiracy with the Landlord and his proxies since at least March
2019 that involves Equal Civil Rights, ADA, Rent Stabilization and residential leasing

frauds.

18. By specific reference, Petitioner has previously filed a Motion to Dismiss et seq. with the

State Court in the early afternoon of January 14, 2020.

19, Petitioner previously filed a notice of removal on January 8, 2020 and filed the required
notice papers with the State Housing Court Clerk’s Office on January 14" in the late

afternoon.

20. The Housing Court’s private agreement with the landlord also incorporates the court’s

deliberate refusal to adjudicate Petitioner’s motion filed on January 14, 2020.

21. Respondents have further colluded to violate the Housing Stability and Tenant Protection
Act of 2019 by scheduling hearing dates absent subject matter jurisdiction of both HSTP

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2019 and violate 28 U.S. Code § 1446(d), in addition to 15 USC 1692, Rule 60 of the
Federal Rules of Civil Procedure.

Furthermore, the prior Notice of Removal voided the Housing Court’s actions taken from
January 14" through at least February 13" because Referee Timmie Elsner stated on that

date that there was no record of the remand having taken place on or before that date.

Since the adoption of § 1446, it has been uniformly held that the state court loses all
jurisdiction to proceed immediately upon the filing of the petition in the federal court and
a copy in the state court.
The Court in Hsin—Chi-Su v. Vantage. Drilling Company. No. 14-14-00461-CV, 2015 WL
4249265 held that if the plaintiff and the court continue to litigate in State Court during the
removal, absent the removing defendant’s knowledge, these actors can perpetrate a Fraud
upon the Court to create a record for remand portraying the defendant as waiving federal
jurisdiction,
in Keirtec, the defendant removed the case to federal court. 478 F. Supp. 2d at 1340. However, the
defendant then “stood silent” while other parties filed pleadings in the state court and that court issued

orders. Id. At 1340-41. The federal court held that it must remand because the defendant had

impliedly consented to jurisdiction in state court.

Both the Housing Court and the landlord’s acts of collusion to proceed, during the removal,

at the trial level are contemptuous,

Courts can maintain orderly procedure only if they hold void any state court proceedings after the
filing of the removal petition and prior to a federal remand order, regardless of a subsequent
determination that the removal petition was ineffective. South Carolina v. Moore, 447 F.2d 1067,

1073 (4th Cir. 1971).

The state court cannot proceed any further and any orders or judgments issued by a state

court after removal and before remand are void ab initio.

 
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... [T]he State court shall proceed no further unless and until the case is remanded.”
See 28 U.S.C. § 1446(d); see also Ackerman v. ExxonMobil Corp. (4th Cir. 2013)

734 F3d 237, 249-250 (any post removal action by state court is void ab initio).

INTRODUCTION

Petitioner does not possess the full record as required by 28 U.S.C. § 1455 (a) due to the
fact that such records are in the exclusive possession and control of Respondents and
Judicial actors and he State actors have been deliberately obstructing access since March

2019.

Federal courts, mandated with protecting constitutional rights, regularly rule that the New
York Housing Court administration, an unconstitutional court, is fair and well suited to
adjudicate tenant rights, but the housing courts are ill-suited and were never designed to

embrace formal judicial proceedings.

If a landlord engages in “Sewer Service”; the tenant has absolutely no right of discovery
against the records only known and possessed by the landlord which is a blatant

constitutional violation.

The New York City Housing Court executive management is involved with the
billionaire landlord in a “Sheldon Silver” financed “Pay-to-Play conspiracy against
Petitioner and his co-residents that, by analogy, mirrors the abuses raised in Escalera v.

New York City Hous. Auth., 425 F.2d 853 (2d Cir. 1970).

 
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31. In 2015 FBI investigated 60 Center Street and did a sweep of most of New York State’s
judicial brass over case and appeal fixing based upon payments to judges and influence

peddling in the courts.

32. The fact that the New York City Housing Court is an unconstitutional court is settled law
as they are appointed NYC employees and not judicially vetted like real judges,
The Civil Court... includes the Housing Part, which disposes of hundreds of thousands of matters
annually yet isn't even a constitutional court. -Chief Judge Judith Kaye, See Testimony of Chief
Judge Judith S. Kaye before Joint Legislative Hearing on Court Restructuring (Oct. 7, 1997)
33. Historically, tenants sought to appeal Housing Court decisions to the federal courts. See
Johnson v. Birnbaum, No. 98 Civ 2326 (MBM), 1998 WL 156713 (S.D.N.Y. April 3,
1998), the District Court for the Southern District of New York, held that housing court
decisions are not appealable, because its court lacks subject matter jurisdiction pursuant

to the Rooker-Feidman doctrine.

34. The Birnbaum Court held that, Plaintiff in Birnbaum sought to vacate a judgement of
dispossession issued by a housing court judge in the City of New York." Plaintiff
claimed that he was barred from entering a single witness in his behalf, including one on
telephone standby. Despite the fact that the plaintiff was clearly denied due process

rights in housing court proceedings, the court dismissed plaintiff's appeal anyway.

 

n Escalera v. New York City Hous. Auth., 425 F.2d 853 (2d Cir. 1970), The court found
that the Housing Authority's procedures were inadequate because they failed to provide
procedural protections including, among other things, ( 1) adequate notice of the grounds
for termination before the pre-termination hearing and (2) opportunities to examine the
tenant's owner file and to confront or cross-examine the witnesses upon whose testimony

the allegations of non-desirability or rulemaking breaking were based.

 
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The Escalera Court’s findings are representative of the judicial abuses occurring in the

instant Housing Court action directed at Petitioner. The Escalera Court’s findings further
established that when the cases are then presented on appeal, important constitutional,
statutory, and regulatory issues remained unidentified during the housing court
proceedings. Because tenants have neither identified nor raised these issues before the
agency, their legal claims are thereby precluded from judicial consideration and this

procedural abuse is present in the instant Housing Court proceedings.

PLAUSIBLE FEDERAL QUESTIONS

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Whether New York RPAPL 711 et seq is unconstitutional as to the enforcement and
prosecution of a landlord’s lease, at the election of the landlord, respecting jury waiver

and landlord access lease conditions.

Whether there exists a preemptive conflict between the New York State RPAPL’s
enforcement of a landlord’s lease that facially violates tenants’ rights under Subchapter B

of Chapter VIII of Subtitle S of Title 9 NYCRR § 2524.3, the ADA and the FHA.

Whether New York RPAPL 735 et seq is unconstitutional as applied to enforcing the
lease, at the election of the landlord, terms and conditions inclusive of process service by
regular and certified mails that are in violation of the notice terms set out in the landlord’s

lease.

Whether Housing Court Referee Heela Capell, the NYC Housing Court Clerk’s Office
and the New York City Housing Court operate unconstitutionally in dealing with

Petitioner.

 
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JURISDICTIONAL ISSUES

PERSONAL JURISDICTION — STATE COURT

Al. Judge McMahon has clearly missed the mark by not understanding basics of New York
State RPAPL in that the State law is a statutory construction and there is no notion of

“constructive” service, apparently by publication, in Housing Court matters.

42. It is fundamental to this application for this Court to appreciate that the current state
prosecution is entirely outside of the state court’s jurisdiction, inclusive of both personal

and subject matter jurisdictions.

43, Judge McMahon’s “knitting in” federal patchwork work excuses, i.e. “constructive
service”, such as McMahon inventing a new form of delivery of process service, under

the RPAPL, is a frivolous abuse of federal court time and resources.

44, If Judge McMahon is employing “constructive service” within the context of RPAPL can
only be found on the Housing Court website for the sixth judicial district in New York
State, therefore “constructive service” is not a term used by New York City courts, See

http://ww2.nycourts.gov/courts/6jd/citysummproceed.shtml

45, Conversely, Petitioner and his co-tenant have not been served process in the underlying
Housing Court proceeding and now make a “Snap Removal” pursuant to the Court’s

holding in Gibbons v. Bristol-Myers Squibb Co., 17-2638, et al. (March 26, 2019).

46. The Gibbons holding now permits any defendant in the Second Circuit to remove a state
court case to federal court even when the case involves a defendant sued in the
defendant’s home state -- as long as the defendant removes the case before any defendant
is served. The Third Circuit reached the same result last year. Encompass Ins. Co. v.

Stone Mansion Rest. Inc., 902 F.3d 147 (3d Cir. 2018).
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The previous Notice of Removal was remanded based upon illogical reasons given by
Judge McMahon such as, “Rosenberg and his co-tenant were constructively served with
the petition under Index Number L&T, 67375/19, on or about September 10, 2019. (ECF

2 at 66-67.).”

In fact, the previous removal petition did not even mention notice by public publication,
therefore McMahon’s holding that the federal application of “constructive publication” to
a State Housing Court matter is frivolous and illogical. See T.-H. McElvain Oil & Gas

Ltd. P'ship v. Benson-Montin-Greer Drilling Corp. 2016

Furthermore, Petitioner repeats, under Twombly, that the record is void of service and
Petitioner has certified that actual notice was not sent nor was it received so these

statements do not require anything more than average IQ to comprehend.

Judge McMahon has a propensity to violate Petitioner’s rights under governing law,
Court Rules and statutes such as “when considering a motion to dismiss a pro se
complaint, the Court must interpret the complaint liberally to raise the strongest claims
that the allegations suggest.” See Cruz v. Gomez, 202 F.3d 593, 597 (2d Cir. 2000); see
also Hughes v. Rowe, 449 U.S. 5, 9 (1980) (per curiam) (noting that courts should hold
pro se pleadings "to less stringent standards than formal pleadings drafted by lawyers"

(internal quotation marks omitted)).

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The U.S. Postal Service conducted an investigation into the landlord’s Affidavit of
Service, dated September 10", relating to serious irregularities related to the averred

mailings of the Holdover Petition pursuant to the following Certified Mail Receipts.

The USPS emailed the following investigation report that supports Petitioner’s

complaint of Mail Fraud by the landlord upon the Court and the state defendants,

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From: Branham, Gail M - New York, NY <Gail.M.Branham@usps.gov>

Sent: Friday, January 3, 2020 12:58 PM

To: Del Pizzo, Marcellina R - New York, NY <Marcellina.R.DelPizzo@usps.gov>; Chio, Elsa -
New York, NY <Elsa.Chio@usps.gov>

Ce: Branham, Gail M - New York, NY <Gail.M.Branham@usps.gov>

Subject: RE: [EXTERNAL] RE: MID DECEMBER 2019 MISSING MAIL COMPLAINT
Importance: High

Dear Mr. Rosenberg:

This is in response to your inquiry regarding non-delivery of Certified Mail sent to Eltha Jordan,
Rudolph Rosenberg, Jane‘Doe and John Doe of 418 East 88" Street, Apt. 2G. Your concerns were
shared with Mr. Anthony Carlo, Manager of Customer Services at the Gracie Post Office. Mr.
Carlo and his staff were asked to investigate.

Our investigation revealed, Certified Mail pieces with Tracking Numbers —
70181130000019052163, 70181130000019052170, 70181130000019052187, and
70181130000019052194 were entered into the Postal Service’s mail stream under unverifiable
circumstances. The Certified Mail Receipts you provided, are not filled out and therefore, we
cannot be sure of their origin. Additionally, the tracking shows that the mail pieces were arrived at
Gracie Post Office for delivery, and there was a delivery attempt on Sept. 12, 2019. A thorough
investigation was conducted, and in lieu of the time that has passed and failure to locate the missing
mail we are unable to confirm delivery, and must conclude the mail pieces are irretrievably lost.

We would like to offer our sincere apology for the inconvenience incurred. We are constantly
striving to improve service to our customers, and feedback such as yours, assists us in identifying
areas needing our attention. Certainly, the service you reported is not typical of the service we
normally provide, and we agree you have every right to expect better.

The Postal Service is aware of the frustration and disappointment we cause when we do not live up to
our commitment of safe and reliable mail service. There can be no acceptable excuse for poor service.

Once again, please accept our apology for any inconvenience you have experienced. If further
assistance is needed, please contact your local NY Customer Relations Office at (212) 330-3084.

Gail M. Branham
Customer Relations Coordinator, NY
380 West 33 Street, Room 4022

212-330-3084

The landlord’s mail fraud, that implicates federal court jurisdiction, is calculated to
discriminatorily deprive Petitioner and his co-defendant of their State and Federal

Constitutional rights inclusive of Equal Constitutional Rights.

The Iowa Supreme Court in War Eagle Vill. Apts. v. Plummer - 775 N.W.2d 714 (Iowa
2009) held that the use of generic certified mail is unconstitutional because there is not a
requirement to satisfy a “to door” delivery and had postal employees regularly “cut

corners” that undermines the certified mail delivery process, “The postal employee also

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testified that she has ‘overheard mail carriers say that they have to cut the times on their
routes,’ and to do that ‘they could just drop the 3849 in the mailbox and go. They

wouldn't have to attempt the delivery [to the door] which would take time.’”

The War Eagle Court further held, “We cannot read into the statute a signed-receipt

requirement that is contrary to the plain language of the statute...”

The War Eagle Court ruled, “This scheme gives the illusion, but not the reality, of due
process. There are two major factors that support our conclusion. “First, the FED
statutory scheme deems notice complete upon mailing. Under lowa Code section
562A.8, service is deemed received when mailed. Dropping a letter in a mailbox is not

notice yet is deemed sufficient notice. It is mere lip service to meaningful notice.”

Generic Certified Mail, like regular mail, lacks the audit trail that is attached to

Registered Mail

The Court in Greene v. Lindsey, 456 U.S. 444 (1982) held, In failing to afford appellees
adequate notice of the proceedings against them before issuing final orders of eviction,
the State deprived them of property without due process of law required by the

Fourteenth Amendment. Pp. 456 U. S. 449-456,

(a) "An elementary and fundamental requirement of due process in any proceeding which is to be
accorded finality is notice reasonably calculated, under all the circumstances, to apprise interested
parties of the pendency of the action and afford them an opportunity to present their objections.”
Mullane v. Central Hanover Bank & Trust Co., 339 U. S. 306,3 339 U. S. 14. Pp. 456 U. S. 449-

450.

(b) In light of the fact that appellees were deprived of a significant interest in property and, indeed,
of the right to continued residence in their homes, it does not suffice to recite that, because the

action was in rem, it was only necessary to serve notice "upon the thing itself." The sufficiency of

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the notice must be tested with reference to its ability to inform people of the pendency of

proceedings that affect their interests. Pp. 456 U. S. 450-451.

(c) Notices posted on the doors of tenants' apartments were "not infrequently" removed before they
could be seen by the tenants.
The Greene Court further held that the evicted tenants had no opportunity for recourse
through the state court system. “Thus without recourse in the state courts, appellees filed
this suit as a class action in the United States District Court for the Western District of
Kentucky, seeking declaratory and injunctive relief under 42 U.S.C. § 1983 and that even
process servers complain that posted notices are vandalized,
a time when posting provided a surer means of giving notice than did mailing, [t]hat time has
passed. The uncontradicted testimony by process servers themselves that posted summonses are not
infrequently removed by persons other than those served constitutes effective confirmation of the
conclusion that notice by posting 'is not reasonably calculated to reach those who could easily be
informed by other means at hand,’
“The Greene court looked to the magnitude of the interest involved, that is, the right of
continued residence in the home, in reaching its determination that the posted notice was
inadequate. (Id., at p. 451 [72 L.Ed.2d at p. 256].)” See the Greene court looked to the
magnitude of the interest involved, that is, the right of continued residence in the home,
in reaching its determination that the posted notice was inadequate. (Id., at p. 451 [72

L.Ed.2d at p. 256].)

SUBJECT MATTER JURISDICITON — STATE COURT

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In speaking to the state court’s subject matter jurisdiction, the state court is proceeding in
violation of the New York State First Department’s decision in BDO USA, LLP v.
Phoenix Four, 113 A.D.3d 507 (First Dept., 2014) that renders the petition under state

court Index LT-67375-19/NY as a legal nullity or otherwise legal fiction.

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The fact that the state court refuses to acknowledge LT-67375-19/NY as a legal nullity
does not permit this Court to pretend or act otherwise, therefore this Court cannot remand
this application to the state court, as the landlord’s current State court complaint and

proceeding is a legal nullity at the state level.

Furthermore, since the instant New York state complaint is a legal nullity, pursuant to
CPLR 3217(a)(1) et seq., the doctrine of prior exclusive jurisdiction does not apply

primarily because the state court’s discontinuance of the March 2019 holdover

proceeding resulted in the court’s not retaining jurisdiction over the property.

The landlord originally filed holdover petition, Index 056244-19, in March 2019, but the

landlord engaged in “Sewer Service” and certified the process service upon the tenants.

The landlord next filed a Notice of Discontinuance September 6" and simultaneously
filed a new holdover petition, Index LT-67375-19/NY, but the service as to the
discontinuance and the second petition were by “Sewer Service” and the landlord, once

again, falsely certified the process service upon the tenants.

The Notice of Discontinuance was filed without leave of the trial court as required by
CPLR 3217(a)(1) since the notice was filed outside of 20 days from the March 2019
petition filing and over two months after Petitioner had filed pre-answer motions to

dismiss in June and July 2019, respectively.

On both November 21, 2019 and again on January 15, 2020, Housing Referee Capell
unlawfully dismissed, denied notice/opportunity to be heard and present evidence, all of

Petitioners’ pre-trial motion to dismissed and forced him into a trial.

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The state court’s discontinuance in favor of the second complaint, which is a legal nullity
pursuant to First Department governing law, effectively terminates the state court’s

subject matter jurisdiction.

The doctrine of prior exclusive jurisdiction applies to a federal court’s jurisdiction over
property only if a state court has previously exercised jurisdiction over that same property
and retains that jurisdiction in a separate, concurrent proceeding. See, e.g., Chapman, 651
F.3d at 1042; One 1985 Cadillac Seville, 866 F.2d at 1144-45.6, See Sexton v. NDEX

WEST, LLC, 713 F. 3d 533 - 2013 - Court of Appeals, 9th

The Sexton Court also held, “the same rule would apply to a state court if a federal court
were the first to assert jurisdiction over the property. See United States v. Alpine Land &

Reservoir Co., 174 F.3d 1007, 1012-14 (9th Cir. 1999).”

FEDERAL JURISDICTION

Both Petitioner and co-defendant Eltha Jordan, defendant tenants, have not been served in
the underlying state proceedings.

By statute, the federal court may hear and decide a claim in a removed civil action even
where the state court had no jurisdiction because the action is exclusively federal. [28

U.S.C. §1441(e)] Formerly, the federal court was required to dismiss.

By private lease agreement, being an express agreement, between the tenants and the
landlord executed in Fall 2018, Petitioner and his co-tenants have the absolute right to
remove any state action federal court that is also permitted by the lease forum selection

clause.

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Additionally, the state proceeding is not brought upon the authority of the actual landlord,
petition not signed by landlord nor attached affidavit of authority. But is brought by an

unknown law firm that has not demonstrated that it is authorized by the landlord.

This incorporated venue agreement is enforceable and relates to any action or proceeding
brought by the landlord or his agents where tenants seek to raise federal counterclaims
and defenses relating to FHA and any other complaint of discrimination against the
landlord or anyone associated with the landlord engaged in violations of the tenants’

constitutional rights.

The key provision of the principal federal removal statute, 28 U.S.C. § 1441(a),
authorizes a defendant to remove from state court to federal court “any civil action
brought in a State court of which the district courts of the United States have original

jurisdiction ....,” and 28 U.S.C. 1443 (1)

42. U.S.C. §§2000a, 2000a-6 (1964), Article III of the U.S. Constitution, 28 U.S.C. §
1443(1), 42 U.S.C. § 1985 et seq., Title III, 42 U.S.C. § 2000b et seq, 28 U.S.C. § 1331

and 1343 for claims arising under the Americans with Disabilities Act (the “ADA”)

All-Writs Act (AWA), 28 U.S.C. § 1651(a), which provides that the federal courts "may
issue all writs necessary or appropriate in aid of their respective jurisdictions and

agreeable to the usages and principles of law."

Petitioner and his state court co-defendant have not been served process and any of the

state court’s orders in both proceedings.

Federal district courts have original jurisdiction over civil actions in diversity cases
"where the matter in controversy exceeds the sum or value of $75,000" and where the

matter is between "citizens of different States." 28 U.S.C. § 1332.

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Federal Court also have original jurisdiction relating to Takings Clause of the Fifth

Amendment.

Additionally, Section 1331, general removal jurisdiction, applies and must be founded

upon diversity.

The District Court’s subject-matter jurisdiction is, in part, based upon the diversity of

citizenship between the parties, as provided in 28 U.S.C. §1332(a)(1).

The value and the amount in controversy of the litigation exceeds the jurisdictional limit

of $75,000.00.

Petitioner attaches a record of permission from Eltha Jordan as only a cautionary step to

this Court siding with the state court as to whether defendants have been joined.

LEGAL ARGUMENT

The Court “must accept all facts in the complaint as true and ‘view them in the light most
favorable to the’ plaintiff.” Moore v. Liberty Nat. Life Ins. Co., 267 F.3d 1209, 1213
(11th Cir. 2001) (quoting Hawthorne v. Mac Adjustment, Inc., 140 F.3d 1367, 1370 (11th
Cir. 1998)); see also Gen. Guar. Ins. Co. v. Parkerson, 369 F.2d 821, 825 (11th Cir. 1966)
(“We are, of course, aware of the obligation to scrutinize the complaint and to let it stand
if plaintiff might recover under any state of facts which could be proved in support of the
claim, with the complaint construed in the plaintiffs favor.”).

Respecting the Equal Civil Rights claim, in applying the Rachel test, all facts stated in the
Notice of Removal are presumed to be true. Rachel 384 U.S. at 805; Bar Assn of

Baltimore City v. Posner, 391 F. Supp. 76, 79 (D.C. Md. 1975).

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The facts and law raised herein will demonstrate that the landlord’s petition, forming the
basis of the eviction proceeding, is also an exception, “an exception to the well-pleaded
complaint rule, removal may be permitted in those comparatively rare cases where the
plaintiff’s state-law claim is completely preempted by federal law.” Beneficial National
Bank v. Anderson, 539 U.S. 1, 9 (2003); see also Aetna Health Care Incorporated v.
Davila, 542 U.S. 200 (2004) (ERISA preempts state law tort claims against ERISA-

regulated health providers; defendants may therefore remove state claims).

The underlying holdover petition is an exception to the “well pleaded” doctrine in that it
seeks rents outside of the declared landlord-tenant relationship as part of a discriminatory

eviction conspiracy.

COMPLETE DIVERSITY

STATE CITIZENSHIP - LANDLORD

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SHEMIRAN CO. LLC is a citizen of California by way of its’ owner, Kambiz Hakim.

A limited liability company (“LLC”) is a hybrid legal structure that provides the limited
liability features of a standard corporation and the tax efficiencies and operational
flexibility of a sole proprietorship or partnership. Its members can include one or more

individuals, corporations, partnerships or LLCs.

The citizenship of an LLC is determined by the citizenship of each of its members. See,
e.g., Bayerische Landesbank, New York Branch v. Aladdin Capital Management LLC,

692 F.3d 42, 49 (2d Cir. 2012).

A complaint premised upon diversity of citizenship must allege the citizenship of natural
persons who are members of a limited liability company and the place of incorporation

and principal place of business of any corporate entities who are members of the limited

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liability company.” New Millennium Capital Partners, III, LLC v. Juniper Grp. Inc., 2010
WL 1257325, at *1 (S.D.N.Y. Mar. 26, 2010) (citation omitted). The state of

incorporation for the LLC itself is, therefore, irrelevant.

Shemiran Co., LLC, is an LLC entity registered in New York State, with the sole
member, Kambiz Hakim, resides in San Diego California and has stated that his state

citizenship is declared publicly as being Californianian.

Furthermore, Kambiz Hakim also has his holding company, Hakim Holdings LLC,
registered at 9350 Wilshire Blvd, #300, Beverly Hills, CA 90212, where he operates out

of on a daily basis per his New York City staff.

STATE CITIZENSHIP - TENANTS

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The McMahon Court typically employs negligent legal analysis that includes holding that

a person’s physical residence equates to citizenship in a diversity jurisdiction assessment.

Even if this Court deems Petitioner a citizen of the forum court, both Petitioner and his

co-tenant are permitted to remove under the “Snap Removal” doctrine.

Given That District Court May Not Sua Sponte Remand for a Procedural Defect, Is
Removal by a Forum Defendant Procedural or Jurisdictional? — Circuit Split —
Domicile, Not Residence, Determines Citizenship for Diversity Purposes. See Martin v.
Phillips, 2017 U.S. Dist. LEXIS 37792 (M.D. Fla. Mar. 16, 2017) that raises the issue of
a Circuit Split; Yusefzadeh v. Nelson, Mullins, Riley & Scarborough, LLP, 365 F.3d
1244, 1245 (11th Cir. 2004) (per curiam) ("[T]he district court may not sua sponte
decide to remand the case for any procedural defect other than lack of subject matter

jurisdiction.").

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The Martin Court further expounded upon the Circuit Split, “Neither the Supreme Court
nor the Eleventh Circuit Court of Appeals has directly addressed the question of whether
removal of a diversity action by a defendant who is a citizen of the forum state isa
waivable procedural defect or a jurisdictional defect. See Lincoln Prop. Co., 546 U.S. at
90 n.6 ("Although we have not addressed the issue, several lower courts have held that
the presence of a diverse but in-state defendant in a removed action is a 'procedural'
defect, not a jurisdictional’ bar, and that the defect is waived if not timely raised by the
plaintiff.") (citing 14C C. Wright, A. Miller & E. Cooper, Federal Practice and Procedure
§ 3739, pp. 451-57 & nn. 32-37 (3d ed. 1998)); see also Snapper Inc. v. Redan, 171 F.3d
1249, 1257-58 (11th Cir. 1999) (recognizing circuit split as to whether removal by
forum-state defendant is procedural or jurisdictional defect and suggesting in dicta that
the better interpretation is that the defect is procedural); Bregman v. Alderman, 955 F.2d
660, 663 (11th Cir, 1992) (per curiam) (commenting in dicta that removal by defendant
who was citizen of forum state was a procedural, rather than jurisdictional, defect);
Murphy v. Aventis Pasteur, Inc., 270 F. Supp. 2d 1368, 1374, 1375 n.8 (N.D. Ga. 2003)
(recognizing that "[t]he question of whether the forum defendant rule is jurisdictional is
an unsettled one" and adopting the "majority view" that "the forum defendant rule of §
1441(b)" is a waivable procedural defect); but see Elias v. Am. Nat'l Red Cross, 271 F.
Supp. 2d 1370, 1373 (N.D. Ala. 2003) (acknowledging divergent authority and
concluding that the forum defendant rule was "intended as an actual subtraction from the
subject-matter jurisdiction that would otherwise be afforded by 28 U.S.C. § 1332, and did

not simply create a potential, waivable procedural defect").”

Petitioner and his co-defendant are domiciled in New Jersey for many years prior to

taking possession of the subject apartment.

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A natural person's citizenship is determined by his or her "domicile," or "the place of his
true, fixed, and permanent home and principal establishment . . . to which he has the
intention of returning whenever he is absent therefrom." McCormick v. Aderholt, 293

F.3d 1254, 1257-58 (11th Cir. 2002) (quotation and citation omitted).

Accordingly, “the assertion in the Notice as to Miller's residence is insufficient to
establish her citizenship for diversity purposes.” See Taylor, 30 F.3d at 1367
("Citizenship, not residence, is the key fact that must be alleged in the complaint to
establish diversity for a natural person."); see also Miss. Band of Choctaw Indians v.
Holyfield, 490 U.S. 30, 48, 109 S. Ct. 1597, 104 L. Ed. 2d 29 (1989) ("Domicile' is not

necessarily synonymous with 'residence[.]"").

Removal is permissible where the diversity threshold is satisfied pursuant to 28 USC

1441(b) as none of the tenants is a citizen of the State in which such action is brought.

Every person has a domicile, and more importantly, a person is presumed to be domiciled
in his or her domiciliary state until a new domicile is acquired. See Lyon v. Glaser, 60
N.J. 259, 277 (1972), but this presumption is easily overcome by Petitioner’s factual

statements herein.

In Dart Cherokee Basin Operating Company v. Owens, 135 S. Ct. 547, 554 (2014), the
Supreme Court held that a notice of removal need only plausibly state a basis for federal
jurisdiction. It need not include evidence that jurisdictional requirements, such as the

amount in controversy, are met.

This Court must consider both the New Jersey and the New York State rules governing
residency to properly assess whether Petitioner and Ms. Jordan can be considered

domiciled in New York.

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Petitioner and Ms. Jordan were residing in New Jersey immediately prior to taking
possession of the subject NYC apartment in summer of 2018 and continue to maintain
material financial, legal and personal contacts with New Jersey with the intent of

retuming.

This Court has no record demonstrating that the tenants have changed their domicile to

New York.

Both Petitioner and Eltha Jordan maintain most of their personal property located at a
New Jersey address, have a legal claim to reside at a New Jersey address, maintain
physicians & dentists, maintain local New Jersey fax and telephone numbers tied to New

Jersey in addition to banking and related operations in New Jersey.

Petitioner also conducts ongoing resident related government services transactions
through New Jersey government, including New Jersey Driver’s License records, NJ
Unemployment Insurance payments, in addition to being employed in New Jersey during
2018 and 2019, Petitioner and Ms. Jordan maintain an ongoing address for mail and

personal affairs in addition to considering New Jersey to be their domicile.

Domicile is a matter of intent, requiring physical presence or contact with New Jersey
and an intention to remain in New Jersey or return to New Jersey after leaving it. See In

re Gillmore's Estate, 101 N.J. Super. at 87.

A taxpayer cannot establish a new domicile unless he or she proves intent to abandon his
or her original domicile. See Citizens State Bank and Trust Co. v Glaser, 70 N.J. 72, 81

(1976); Lyon, 60 N.J. at 264.

the New Jersey Tax Court (in Samuelsson v. Director, No. 003615-2004, 2005 N.J. Tax

LEXIS 9 (N.J. Tax Ct. May 10, 2005) agreed with the taxpayers and found that they had

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abandoned their New Jersey domicile during the time Kjell was employed with the

Tampa Bay Lighting in Florida. The court considered a number of factors in reaching its

conclusion:

1. the taxpayers moved all of their furniture and belongings to Florida;

2. the taxpayers said good-bye to their friends in New Jersey;

3. the taxpayers closed their New Jersey bank accounts and opened accounts in Florida; and
4, Kjell obtained a Florida driver's license and registered his car in Florida.

Where there is evidence of more than one residence, or the residence is not clear, the
court looks to the party’s intent. See Chen v. Sun, No. 113CV00280, 2016 WL 270869,

at *2 (S.D.N.Y. Jan. 21, 2016).

Domicile is defined by residence in fact along with the intent to remain there or to return
when absent. See, e.g., Kaufman & Broad, Inc. v. Gootrad, 397 F. Supp. 1054, 1055

(S.D.N.Y. 1975).

“No single factor is determinative, and courts must consider the ‘totality of the
evidence.”” Id. (quoting Nat’l Artists Mgmt. Co. v. Weaving, 769 F. Supp. 1224, 1228

(S.D.N.Y. 1991)).

No minimum time period is required to establish domicile, and “although intent to remain
in the state is a key element of demonstrating a change of domicile, the person need not
have the affirmative intent to remain there permanently.” Hidalgo v. City of New York,

No. 14-cv-2282, 2015 WL 1729811, at *2 (S.D.N.Y. Apr. 14, 2015)

An individual's residence at the time a lawsuit is commenced only provides prima facie
evidence of his domicile. See District of Columbia v. Murphy, 314 U.S. 441, 455, 62 S.

Ct. 303, 309, 86 L. Ed. 329 (1941); Krasnov v. Dinan, 465 F.2d 1298, 1300 (3d
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Cir.1972); Broadstone Realty Corp. v. Evans, 213 F. Supp. 261, 265“Domicile is not
synonymous with residence; a party can reside in one place and be domiciled in another.”
Kennedy v. Trs. of Testamentary Tr. of Will of Kennedy, 633 F. Supp. 2d 77, 81
(S.D.N.Y. 2009) (citing Mississippi Band of Choctaw Indians v. Holyfield, 490 U.S. 30,
47-49, 109 S. Ct. 1597, 104 L. Ed. 2d 29 (1989)), aff'd, 406 F. App'x 507 (2d Cir. 2010).

(S.D. N.Y.1962).

Domicile is defined by residence in fact along with the intent to remain there or to return
when absent. See, e.g., Kaufman & Broad, Inc. v. Gootrad, 397 F. Supp. 1054, 1055
(S.D.N.Y. 1975); Broadstone Realty Corp. v. Evans, 213 F. Supp. 261, 265
(S.D.N.Y.1962) (domicile in one state continues until a new domicile is shown to have

been established).

VALUE IN CONTROVERSY

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The eviction proceeding has an undeclared agenda which amounts to unlawfully
retain the security deposit, with interest, in addition to unlawfully deregulating the

apartment to increase rents and building valuation.

The Second Circuit follows the plaintiffs viewpoint rule. Kheel v. Port of N.Y. Auth.,
457 F.2d 46, 49 (2d Cir. 1972) Gjurisdiction lacking) (citation and internal quotation
omitted) (“Generally, for this reason, the amount in controversy is calculated from the
plaintiff's standpoint; the value of the suit’s intended benefit or the value of the right
being protected or the injury being averted constitutes the amount in controversy when

damages are not requested.”).

The Court in Doris W. Ray Irrevocable Trust et al v. Ray 6:2017cv00763 held, “When

the petitioner's desired injunctive relief is eviction, courts determine the amount in

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controversy based on the potential change in the petitioner's economic position. See MCC

Mortg. LP v. Office Depot, Inc., 685 F.Supp.2d 939, 943-44 (D. Minn. 2010).”

The Doris Ray Court also held, “In assessing this value, courts look to the length of time
remaining in the lease and the difference in value between the rent received from the
current tenant and the potential rent from a future tenant. A. Levet Prop. P'ship. v. Bank

One, N.A., No. 03 Civ. 1373, 2003 WL 21715010, *3 (E.D. La. July 21, 2003).”

The instant Housing Court proceeding includes a contest as to the legal status of the

apartment being Rent Stabilized which Petitioner asserts is Rent Stabilized.

Therefore, the stabilized apartment value is perpetual as long as the tenants wish to
remain and continue in good standing and this fact serves as the economic basis for the

landlord to seek eviction so as to unlawfully deregulate the subject apartment. .

Ultimately, one or maybe two years more of the Rent Stabilized lease qualifies the
controversy as being over the threshold $75,000, including the current landlord’s

complaint.

Pursuant to 28 U.S.C. § 1446 (c )( (3)(A)_ If the case stated by the initial pleading is not
removable solely because the amount in controversy does not exceed the amount
specified in section 1332(a) , information relating to the amount in controversy in the
record of the State proceeding, or in responses to discovery, shall be treated as an ‘other

paper’ under subsection (b)(3).

The landlord’s current complaint is not a true representation of the amount in controversy
as the two petitions filed on the same apartment have contradictory statements as to the
regulated status of the unit being Rent Stabilized as opposed to the second petition

verifying that it is not Rent Stabilized.

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At the time of the May 2018 lease, the landlord engaged in a confidence scheme,
realizing that Petitioner was under pressure to make a decision, to induce a situation
duress in Petitioner by orally guaranteeing the apartment under beneficial terms and
conditions then extracting the $4,100.00 security deposit and first month’s rent and after

obtaining these funds the landlord deliberately delayed producing the lease.

As of June 2019, the landlord is also refusing to return the excess of one month’s security
deposit as required by the NYS HSTPA that amounts to interest on $4,100.00 since May
2018 plus the excess rent of $2,050.00 which amounts to a grand larceny violation of

New York Penal Law 190.80(2).

The Housing Stability and Tenant Protection Act (HSTPA) of 2019 prohibits landlords
from retaining security deposits in excess of one month’s rent, but the instant landlord

has not only refused to account for the original two-month deposit from June 2018.

Furthermore, the landlord seeks to unlawfully deregulate the subject Rent Stabilized
apartment and such unlawful deregulation will automatically increase the rents and the
value of the apartment in conjunction with the addition increase in the building’s
valuation. See Horton v. Liberty Mut. Ins. Co., 367 U.S. 348, 353 (1961) (citation and
internal quotation omitted) (“The general federal rule has long been to decide what the
amount in controversy is from the complaint itself, unless it appears or is in some way

shown that the amount stated in the complaint is not claimed in good faith.”).

In the instant State proceeding, the value to the landlord is primarily unlawfully
deregulating the Rent Stabilized apartment, avoiding expensive tenant litigation and
associated impending liability that conservatively exceeds $300,000.00 through this

eviction proceeding.

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The complaint now states that the amount in controversy exceeds $35,000.00, but
information relating to the amount in controversy in the record of the State proceeding,
such as the original March 2019 petition, certified the apartment as Rent Stabilized,

therefore the original petition should be treated as an ‘other paper’ under subsection

(b)(3).
Furthermore, the landlord now claims rents owed over $35,000.00.

The landlord’s counsel has stated that they are seeking legal fees in excess of $50,000.00

which combined with the rents sought thereby more than satisfies the monetary

jurisdictional requirement,
[a] potential award of attorneys ‘fees may be considered by the court when determining whether a
case involves the jurisdictional minimum." Gardiner Stone HunterInt'l v. Iberia Lineas Aereas De
Espana, S.A., 896 F. Supp. 125, 128 (S.D.N.Y.1995) "[I]t is settled that such [reasonable attorneys']
fees may not properly be included in determining the jurisdictional amount unless they are
recoverable as a matter of right." Givens v. W. T, Grant Co., 457 F.2d 612, 614 (2d Cir. 1972)
(citing Wright, Federal Courts § 35, at 119 (1970); Moore's Federal Practice {] 0.99 [2] Qd ed.
1964)). "In the absence of a contract or statutory authority, neither of which is to be found here,
plaintiffs cannot recover attorneys' fees . . .." Givens, 457 F.2d at 614

Additionally, the landlord’s act of self-help unlawful deregulation of the apartment, is

intertwined with the racially motivated eviction, and is calculated to immediately deprive

the tenants of the rights under the Rent Stabilized law with the benefit of simultaneous

increased rents and building valuation post-deregulation.

The market value of the apartment building is approximately six million dollars that
translates into an estimated $200,000.00 value for each apartment and the apartment rent
would increase significantly after the eviction calculated to be at least $100,000 increase

in market value on the building.

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139. The court in South Park Associates, LLC v. Renzulli, 94 F. Supp. 2d 460 (S.D.N.Y.
2000) held, “A plaintiff need not seek monetary damages in order to meet the
jurisdictional requirement. The value of property free from rent regulation can constitute
the amount in controversy. See Eisen v. Eastman, 421 F.2d 560, 566-67 (2d Cir. 1969)
(citing McNutt v. General Motors Acceptance Corp., 298 U.S. 178, 181, 56 S. Ct. 780, 80
L. Ed. 1135 (1936) and Kroger Grocery & Baking Co. v. Lutz, 299 U.S. 300, 301, 57 S.

Ct. 215, 81 L. Ed. 251 (1936)).”

140. | The South Park Court further addressed the fact that the petitioner’s allegation that the
deregulated apartments can be put into the controversy to meet the diversity monetary

threshold,

The Second Circuit wrote that "the complaint can be considered to put into controversy the value of
the two buildings free from rent control as against being bound by it, or at least their value before
and after the rent reduction order." 421 F.2d at 566. By alleging that the value of the apartments at
issue free from rent control would exceed $75,000, South Park satisfies the jurisdictional amount

requirement.

John Doe requests immediate relief as described herein and any other permitted relief by

this Court through District Court intervention.

Rudy Rosenberg certifies that to the best of the person's knowledge, information, and belief, formed after

an inquiry reasonable under the circumstances:

(1) it is not being presented for any improper purpose, such as to harass, cause unnecessary delay, or

needlessly increase the cost of litigation;

(2) the claims, defenses, and other legal contentions are warranted by existing law or by a nonfrivolous

argument for extending, modifying, or reversing existing law or for establishing new law;

(3) the factual contentions have evidentiary support or, if specifically, so identified, will likely have

evidentiary support after a reasonable opportunity for further investigation or discovery; and

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(4) the denials of factual contentions are warranted on the evidence or, if specifically, so identified, are

reasonably based on belief or a lack of information.

 

 

Rudy Rosenberg

418 E 88™ ST. 2G
NY 10128
917-740-9757

Eltha Jordan hereby states that I have not been served process in both state proceedings but to avoid

jurisdictional issues in the federal court, I provide my permission for Rudy Rosenberg’s Notice of

 

Removal. L
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CSIC BN pprch, /6,2020
Eltha Jordan

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DecuMen

Case 1:20-cv-02259=EES

CIVIL COURT OF THE CITY OF NEW YORK
COLN TY OF NEW YORK: HOUSING PART G

SHEMIRAN CO. LLC, Index No. 67375/19
Petitioner/Landlord, Motion Seg. No. 001
~agalnst-

RUDOLPH ROSENBERG; ELTHA JORDAN , DECISION/ORDER
Respondeni/Tenants

Worn annette ttn pe x

Present: Hon. Heela D. Capell
Judge, Housing Court

Recitation, as required by CPLR 2219(a), of the papers considered in the review of the
respondent’s pre-answer order to show cause to dismiss the proceeding.

Papers Numbered
Notice of Motion & Affidavits Annexed. ccc, I

Notice of Cross-Motion and Afficavits Annexed....00

Answering AMdAVIt8 oes 2.
Replying Af dAViS.. ont 3

EXDIDIS ocr

SUPULAH ONS octets
Memorandum of 1Wecoccccsssvcnc

Upon the foregoing cited papers, the Decision/Order on respondent’s order to show cause is as
follows:

This holdover proceeding first appeared on the calendar ir Part F on September 26, 2019.
The proceeding was adjourned to October 17, 2019 and iransterred to this Part on that date.
Respondent, Rudolph Rosenberg (“Respondent”) filed an order to show cause application on that

date, which the court Signed on the record, in front of both parties. The court accelerated the

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Civil Court of the City of New York
: ... 11 Centre Street.
New York, NY 10013

Phone: (646) 386-5730 Fax: (212) 374-8053
WEB Site: www.nycourts.gov/Housing
Hours: $:30a-5:00p M,T,W,F - 8:30a-7:00p Th
Hon. Anthony Cannataro Alia Razzaq
Administrative Judge Chief Clerk

 

 

NOTICE

February 10, 2020

Rudolph Rosenberg
418 East 88th Street, Apartment 2G
New York, NY 10128

Shemiran Co, LLC
~against-
Rudolph Rosenberg... et al.

Index Ne: LT-067375-19/NY Calendar No:

PLEASE TAKE NOTICE that your Landlord and Tenant case has been adjourned to
March 17, 2020 at 9:30 AM in Part Part N, Room 823 for a Bench Trial .

You must appear and bring this notice with you.

AliaRazzaq
Chief Clerk

CC: — Eltha Jordan

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!

The branch of the order tos show cause seeking a transcript fee waiver is denied as it is not

supported by facts showing that Responttent is entitled to a fee waiver.
The branch of Respondent’s order to show cause seeking that this court take judicial

|
notice of an undisclosed agreement between the parties permitting Respondent to interpose two

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simultaneous CPLR 3211 motions is denied as Respondent has not provided the court with a

copy of any such agreement and Petitioner disputes that such an agreement exists.
i

The remaining arguments made by Respondent in reply will not be considered by the
court as they were raised for the frst time in the reply papers. (A/l State Flooring Distribs., LP.
v MD Floors, LLC, 131 AD3d 834 [ist Dept 2015]; USAA Fed. Sav. Bank v Calvin, 145 AD3d
704 [2d Dept 2016]). |

Accordingly, the order to show cause is denied in its entirety. The Proceeding is
adjourned for trial to January 5, 2020 at 2:30PM to accommodate Respondent’s ADA request
for a 2:30PM return time. Respondent shall serve an answer, in hand on Petitioner’s counsel, and

filed with the court, on or before December 20, 2019,

i mm.
“,

 

Dated: New York, New York : se
November 21, 2019 HON. HEELA D. CAPELL
JHC.

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The branch of the order to show cause seeking a transcript fee waiver is denied as it is not
supported by facts showing that Respondent is entitled to a fee waiver.

The branch of Respondent’s order to show cause seeking that this court take judicial
notice of an undisclosed agreement between the parties permitting Respondent to interpose two
simultaneous CPLR 3211 motions is denied as Respondent has not provided the court with a
copy of any such agreement and Petitioner disputes that such an agreement exists.

The remaining arguments made by Respondent in reply will not be considered by the
court as they were raised for the first time in the reply papers. (A State Flooring Distribs., LP.
v MD Floors, LLC, 131 AD3d 834 [ist Dept 2015]; USAA Fed. Sav. Bank v Calvin, 145 AD3d
704 [2d Dept 2016]).

Accordingly, the order to show cause is denied in its entirety. The Proceeding is
adjourned for trial to January 15, 2020 at 2:30PM to accommodate Respondent’s ADA request
for a 2:30PM return time. Respondent shall serve an answer, in hand on Petitioner’s counsel, and

filed with the court, on or before December 20, 2019.

    

Dated: New York, New York See
November 21, 2019 HON. HEELA D. CAPELL
J.H.C.

 

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CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK: HOUSING PART D

Index No. L&T: 056244/2019

SHERMIRAN CO., LLC
a/k/a SHERMIRAN COMPANY
Petitioner,

-against~- AFFIDAVIT & BRIEF WITH MOTION
FOR CONTINUANCE: ADA RIGHTS
MOTION, PRE-ANSWER CPLR
3211 DISMISSAL NOTICE

RUDOLPH ROSENBERG ET AL,

| am requesting that this court continue the matter in mid-Junes for the following reasons:

. On March 27, 2019, | filed a motion with this Court’s clerk to set an initial appearance
date to comport with my established ADA right to all hearings to be held at 2 pm or
thereafter, Exhibit A.

. Upon receipt of initial appearance notice that comports with my ADA rights, pursuant to
42 U.S.C. 12101 et seq. and Section 504 of the Rehabilitation Act of 197329 U.S.C.A. 794,
for an afternoon hearing date, | intend to file CPLR 3211 et seq. pre-answet motion(s).

. The Court is obligated to respect my ADA Accommodation status for all hearings in the
afternoons whereas the hearing scheduled in the morning violates said established ADA
right ORDERED BY THIS COURT.

. The March 27* adjournment to May 15" was requested by the Landlord to the court
clerk who then obtained the adjournment from this Court for the Landlord, but resolved
for another morning hearing in violation of my ADA rights.

. |have not made an appearance to date nor have | requested an adjournment.

. My ADA right to exclusively afternoon hearings was established in October 2016 within

Exlubit: C_

this Court system.
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7. As of this date, this Court has not ruled on my March 27" motion nor directed an initial
hearing at 2 pm on any date thereafter.

8. [have not been served by Petitioner and any appearance by me will be for pre-answer
motions absent waving personal jurisdiction challenge, therefore this Court lacks
Personal Jurisdiction over my person which | intend to raise at the first proper initial
court date that complies with my ADA rights.

9. | will be unavailable until June 10° forward as | will be out of State from this week on a

critical personal matter.

Dated: J R, 2019

STATE OF NEW YORK, COUNTY OF __ N | : , SS.

I, Rudolph Rosenberg, am a named Respondent in the within action. I have read the foregoing and
know the contents thereof. The contents of the Affidavit are true to my own belief and knowledge, except
as to those matters therein stated to be alleged upon information and belief, and as to those matters I
belleve them to be true.

 
 

 

RUDOLPH ROSENBERG

Sworn to before me this 3 Asay of Mee LAF

      
     

CHRISTOPHER -£ GREEN

 

 

iP 2 Notary Public ~ State of Naw York .

oe NO.O1GREZS3242 :.

Lo oe ie Qualified in Bronx County e

tf cca Rohe eins be LS ponniiemr * ; My Commission Expires Jun 3, 2024 .
Case 1:20-cv-02259-LLS Document 2 Filed 03/10/20 Page 36 of 41
UTNICK & LEVENSON LLP

 

 

CIVIL COURT OF THE CITY OF NEW YORK.
COUNTY OF NEW YORK: HOUSING PART
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SHEMIRAN CO. LEC [RESIDENTIAL] °
wk/a SHEMIRAN COMPANY
L&TINDEX NO.
Petitioner-Landlord., .
VERIFIED PICTITION

~ against -

RL

IDOLPH ROSENBERG
ELTHA JORDAN

418 East 88" Street
Apartment 26

New York. New York 10128

Respondent-Tenant,
“JOHN DOE” and/or “JANE DOE”,
Respondent(s)-Undertenant(s)
First and/or last name(s) of Undertenant(s) is/are fietitious
and unknown to Petitioner. The person intended is
whosoever has possessory right to, or actually is in
possession of, ihe premises herein described.

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THE PETITION OF SHEMIRAN CO, LLC a/k/a SHEMIRAN COMPANY as the
Landlord/Owner of the Premises respectfully shows upon information and belief that:

I. The undersigned are the attorneys of the Petitioner, SHEMIRAN CO, LLC afkfa
SHEMIRAN COMPANY, a limited liability corporation authorized to be business in New

York State.

2. Petitioner is the Landlord and Owner of the premises described and defined below.
3. Respondent-Tenants RUDOLPH ROSENBERG and ELTHA J ORDAN are the tenants of

418 East 88" Street. Apartment 2G, New York, N.Y. 10128 (the “Premises”) and entered

info possession under a written rental agreement made between Respondent-lenant and

the Petitioner Landlord.
 

 

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Respondents “JOHN DOE” and “JANE DOE” are the undertenants of Respondent-
Tenants. “JOHN DOE” and “JANE DOE” are fictional persons unknown to Petitioner
who may be residing in the premises.
The Premises are described as follows: All rooms of Apartment 2G in the building known
as and located at 418 East 88" Street, New York, N.Y. 10128, which is situated within the
territorial jurisdiction of the Civil Court of the City of New York, County of New York.
The term for which the Respondent- Tenant rented said premises expired on May 31, 2019.
Respondents have not vacated the demised premises, nor surrendered possession thereof
“to Petitioner, and holdover, and continue in possession of said premises, after the expiration
of the lease, without permission of the Petitioner. Petitioner has not accepted any use and
occupancy after the expiration of the term,
The premises is not subject to the rent stabilization law of 1974 as amended, in accordance
with RSL 26-504.2 as amended, as the rent exceeded the deregulation threshold in effect
at the time prior to Respondents’ tenancy.
The premises is in a building that is a multiple dwelling and pursuant to the Housing
Maintenance Code §27-2097, et seq., there is a currently effective registration statement
on file with the Office of Code Enforcement in which the owner has designated the
managing agent named below, a natural person, over 21 years of age, to be in control of

and responsible for the maintenance and operation of the dwelling:

| MULTIPLE DWELLING REGISTRATION NUMBER: 105786

REGISTERED MANAGING AGENT'S NAME &

BUSINESS ADDRESS: - SALON REALTY CORP.
ANDRES SOTO
316 FE. 89™ STREET
New York, N.Y. 10128

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Petitioner lacks written information or notice of any address where the Respondent- Penant
resides, is employed, and/or has a place of business in New York State, other than the
Premises,

Petitioner is entitled, pursuant to the Lease, to reasonable attorneys’ fees in connection to
this proceeding, in an amount to be determined at trial.

That prior to the commencement of this proceeding, Respondents failed to tender rent in

the amount of $2,050.00 for each month as follows: December 2018, January 2019,

February 2019, March 2019, April 2019, May 2019, June 2019, July 2019, August 2019

and September 2019. The total rent and/or use and occupancy owed to date is: $20,500.00.
That by reason of the foregoing, Petitioner demands a judgment of possession and a warrant
of eviction to issue forthwith,

That by reason of the foregoing, Petitioner demands herein a judgment against the within
Respondents for the fair market value of the Premises and for their use and occupancy of
the same from September 1, 2019 until the date when possession of the Premises is returned
to Petitioner at a monthly rate to be determined, but not less than $2,050.00 per month, at
either trial or inquest of the within proceeding.

That by reason of the foregoing, Petitioner demands a judgment against the within
Respondents for rent and/or “use and occupancy” owed prior to September 1, 40 19.

That by reason of the foregoing, Petitioner demands herein a judgment against the within

‘Respondents for the costs and expenses of this proceeding, including, but nat limited to

reasonable attorneys’ fees, in an amount to be determined at either trial or inquest in the

within proceeding.
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WHEREFORE, Petitioner request a final judgment as follows:

fal awarding possession of the premises to Petitioner,

[b} issuance of a warrant to remove Respondents from possession of the subject
premises;

{c] judgment for the fair market value of Respondents’ use and occupancy of the
premises to the date on which possession of the premises is returned to Petitioner
in an amount not less than $2,050.00 per month;

[d| judgment for any rent and/or “use and occupancy” owed prior to September 1, 2019
in the amount of $18,450.00;

fe] judgment for reasonable attorneys’ fees and. ancillary expenses incurred by
Petitioner in connection with this proceeding;

Ll judgment for the costs and disbursements herein; and

fel for such other and further relief as this Court deems appropriate.

Dated: New York, New York
September 1, 2019
Yours, ete.

SHEMIRAN CO. LLC
alk/a SHEMIRAN COMPANY
Petitioner

 

 
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STATE OF NEW YORK, COUNTY OF NEW YORK. The undersigned affirms under penalty of
perjury that he is one of the attorneys for the Petitioner, that he has read the foregoing petition and
knows the contents thereof: that the same are true to his knowledge except as to matters stated fo
be upon information and belief; and to those matters he believes them to be true. The grounds of
his belief as to matters not stated upon his knowledge are statements and/or records provided by
the Petitioner, its agents and/or employees and contained in the file in the attorneys’ office, This
verification is made pursuant to the provisions of RPAPL 741,

Dated: New York, New York
. September |, 2019 /) Lf

Noah E. Levenson, Esq.

 

 

 

 
New York, NY 10128

 

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CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK : HOUSING PART
x
L&T INDEX NO.:

 

SHEMIRAN CO. LLC,
Petitioner-Landlord,
-against-
RUDOLPH ROSENBERG
ELTHA JORDAN

418 East 88" Street
Apartment 2G

 

Respondent-Tenant.

 

VERIFIED PETITION
(Holdover ~ Residential)

 

 

 BUTNICK & LEVENSON LiP
120 Wall Street, 31 Floor
New York, NY 16005
(212) 362-1197

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